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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
VS.                                 )                CR. NO. 1:17-10004-15-STA
                                    )
JERMAINE TEMPLE,                   )
                                    )
            Defendant.              )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on June 5, 2017, Assistant United States Attorney, Matt Wilson,
appearing for the Government and the defendant, Jermaine Temple, appearing in person, and with
counsel, Lloyd Tatum.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for FRIDAY, SEPTEMBER 22, 2017 at 9:00 A.M., before
Chief Judge S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 5th day of June, 2017.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
